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Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 1 of 61

 

Carry-on Bags That Take
the Stress Out of Travel

SMARTERTRAVEL

PETA0001189
https://www.tripadvisor.com/Attraction

Case 1:20-cv-01225-

 

 

_Review-g41098-d4045013-Reviews-Tri_State_Zoological_Park-Cumberland_Maryland.html#photos;aggre... w|
PX Document 71-43 Filed 12/20/21 Page 2 of 61

  

“= Traveler photo submitted by Lovely WW (Jun 2017)

 

Embarrassing Travel Gadgets
That Actually Work

SMARTERTRAVEL

PETA0001190
          

= C | @@ Secure | hitps://www.tripadvisor.com,Attraction_Review-g4109 ark-Cumber

Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 3 of 61

 

 

Embarrassing Travel Gadgets
That Actually Work

SMARTERTRAVEL

 

PETA0001191
 

ray_duffy My munchkin said she's going to be
a vet when she grows up.
#700 #maryland #pretty #sunny #love

boo_bekah @

 

9 Q

125 likes

| Aug 3, 2017 |

oe

 

PETA0001192
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 5 of 61

é Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3

Like This Page - May 8, 2011 -

Like Comment Shae @

1
Write a comment...

 

PETA0001193
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 6 of 61

Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3
Like This Page - May 8, 2011 -

 

Like Comment Share @

Suggested Groups See All

 

 

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Bitter Is the New Book Club

7,572 members Join

 

PETA0001194
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 7 of 61

Tri-State Zoological Park & Animal
y Park, Care & Rescue 501c3

Like This Page - May 15, 2011 -

Like Comment Shae @

& Sandy Harnish Melton i miss u guys
cheyanne and khan

6y - Like

a) Write a comment...

Suggested Groups See All

 

  

 

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Bitter Is the New Book Club

7,572 members Hain

 

 

PETA0001195
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 8 of 61

Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3.
Like This Page - June 3, 2011 -

 

Zoo Owner Bob Candy with African Lion "Mbube"

Like Comment Share @

Sarah Stewart Awww he luvs his daddy!

5y - Like

Ramona Moore

5y - Like

eee.

Pamela Cargo awwwz omg so amazing!

5y - Like

Write a comment...

5

 

 

 

PETA0001196
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 9 of 61

% Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3

Like This Page - November 1, 2011 -

A man and his cub! — with Donna Cheslik Candy,
Joan Candy and Jessica Candy Simmons.

Like Comment Share @

11
2 Shares 7 Comments
View 1 more comment

7) Tri-State Zoological Park & Animal Park,
Care & Rescue 501c3 She was extremely
well behaved at the parade, we could not
believe it!

6y - Like

ee) Dawn Mckee Aww, tell Bob | showed this
to the staff at Bethesda..cool.

6y - Like

Write a comment...

 

PETA0001197
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 10 of 61

Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3

Like This Page April 22, 2012

 

In a few weeks there will be gators residing here. —

at Tri-State Zoological Park & Animal Park, Care &
Rescue 501c3.

Like Comment Share @

 

PETA0001198
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 11 of 61

a: Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3

Like This Page March 14,2013 ©

Peka meeting Bu for the first time.— at Tri-State

Zoological Park & Animal Park, Care & Rescue
501c3.

SS i — ee
mn / - = f

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Like Comment Share

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PETA0001199
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 12 of 61

Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3
Like This Page October 9, 2014

Some grouchy back and forth between the cubs.
they made up.

Like Comment Share §@

47

1 Share 4 Com:

/ Q Mindy Glenn Aww. I'm dying to see Charlie.

He is never out when | am there.

3y Like

@ Kimberly Booth Those are cubs?!
3y Like

3S Tri-State Zoological Park & Animal Park,
Care & Rescue 501c3 we've always called
them the cubs since heir parents live at the

zoo too. So people would know who
someone was referring to. Yes, they are all

  

grown up now.
3y Like
% Kathy Moran Great pic
= = 3y Like
eee Oo Write a comment...
— —

Sa

 

 

PETA0001200
Tri-State Zoological Park

2 Rage, d3-0f,64; 2015

 

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| Like Comment Share
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Tay ) O°
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, + g : :
an) a aes = Ruth Martin Just a little bit more pleasell! Kitty
7 F ic? eS loves to be rubbed ©
: phe ; er
ate Like - Reply - April 21, 2015 at 4:13pm
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PETA0001201
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 14 of 61

Tri-State Zoological Park & Animal
Park, Care & Rescue 501c¢3
Like This Page : March 19, 2015 -

Comment

21

1 Share 2 Comments

Michael O'Haver Bob. Thank you so much
for taking the time to give me a private tour
of your animal sanctuary on my Birthday
yesterday. You are a true steward of one of
our greatest treasures; our beautiful Wild
Things. Your concerted efforts and sacrifices
and those of your community volunteers and
Zoological supporters will insure that the
animals you have adopted, raised in your
own home and care for will have the quality
of life they so richly deserve!

2y - Edited - Like

Michael O'Haver If anyone would be
interested in volunteering their time or
providing materials or support for the Tri-
State Zoological Park website at
tristatezoologicalpark.com and click on the
"How to Help link for a list of items they
regularly use!

2y - Like

Write a comment...

PETA0001202

 
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 15 of 61

“ms Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3
Like This Page April 21,2015

Like Comment Share @

3
a) White a comment...

 

PETA0001203
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 16 of 61

Soa, Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3

Like This Page « April 21, 2015 -

Like Comment Share @

Q Ruth Martin Just a little bit more please!!!
x Kitty loves to be rubbed "@

Like - Reply « 3y

Oo Write a comment...

 

Suggested Groups See All

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Bitter Is the New Book Club

7,572 members sels

 

 

 

PETA0001204
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 17 of 61

Tri-State Zoological Park & Animal Park, Care & Rescue
501¢c3
October 15, 2015 -

Hey Zoo friends, the weather is cooling off and it's time to move some of the animals inside for the season. Bob
could really use some extra hands tomorrow. The zoo opens at 10:00. Thanks in advance!

Like Comment Share oO
9 Oldest
4 Shares 1 Comment

®Q Mindy Glenn Pondering. Back is killing me, but I'm pretty sure | could do something to help.
Like - Reply - 2y

PETA0001205
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 18 of 61

 

Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3

Like This Page - January 26, 2016 -

Like Comment Share @
oo: Oldest
3 Shares 3 Comments

Anna Love When does it reopen in spring
like the date? | so wanna come. lve been
dying to since i found about this place.

Like - Reply - 2y
Tri-State Zoological Park & Animal Park,

Care & Rescue 501¢3 Not until April,
depending on the weather.

Like - Reply - 2y

Anna Love Okay thank you.
Like - Reply - 2y

Write a comment...

 

Friend Requests See All

Mark Spencer
2 mutual friends

Confirm Friend

 

 

 

 

PETA0001206
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21

Page 19 of 61

Ss Tri-State Zoological Park & Animal

Park, Care & Rescue 501c3
Like This Page - May 7, 2016

Like Comment

i Oo Write a comment...

Share §¢

Suggested Groups

 

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Bitter Is the New Book Club
7,572 members

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PETA0001207
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 20 of 61

Park, Care & Rescue 501c3
Like This Page - May 7, 2016 - Edited -

S Tri-State Zoological Park & Animal

Yum, squash & cabbage

Like Comment Share ¢

2
© Write a comment...

Suggested Groups Ser

WD Neu) :
eee bai ese |

Bitter Is the New Book Club
7,572 members

 

Jo

 

 

PETA0001208
WJoin Hands Dox 2016
Gy Featecna| Ri

Nias oe ta, De JOC

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Vo\ uUnreecin
momen Simo Ren A Mack, toy Coy up ‘yard

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Our "little" to do list

 

PETA0001209
 

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Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3
Like This Page - May 8, 2016 - Edited -

Cheyenne, mom of Kumar, Cayenne, and India,
wishes you all a Happy Mother's Day. She says you
deserve a nice long nap today too!

Like Comment Shae @
49 Oldest
3 Shares 2 Comments

e Roy Hillegass beautiful animal
Like - Reply - ty =

Tommy Thomas They sure are. There are
no tigers at the Baltimore's Zoo anymore.

Like - Reply - ty

Oo Write a comment...

PETA0001210
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 23 of 61

Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3
Like This Page - May 13, 2016 - Edited -
Avery special thank you to Tom Dufek for capturing

this great shot of our beautiful boy Mowgli...we love
it!

Like Comment Share @

148 Oldest

7 Shares 10 Comments

Nina Sayevskaya Beauty! 1

Like - Reply: 1y

Barb Bernard So beautiful! 1

Like - Reply - 1y

Like - Reply - ty i

Brittany Reed Miss him ‘& I'm coming out
next semester classes or not

Like - Reply - ly

Marcy Anne

@. Kim Naylor Morris Gorgeous! !

  

 

 

PETA0001211
oe Tri-fieis Zoological Park & Animal Pork, Care & Recous
ahas Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 24 of 61

 

5B tdi -

Meet bo end Godger Dosper came io ce trom 6 pve fore 6s 2 pet He
RE@ded sew Gomme end me pees wh us ee ihe TreStele 200. He &
Bepty ead heey, hee lowes 30 Glesy ein fe Sve Sere! eed lowe on ioe.
He's notiog fed of women end chfiren, Get hell ghee he guy 3 ome
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bo Baws Sooo: beeen chi eS Por pore fo dog fo: Sake eet ey fl
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Era Grr St faa

PETA0001212
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 25 of 61

Tri-State Zoological Park & Animal Park, Care & Rescue
501c3 updated their cover photo.
September 16, 2016 -

= a a

 

Like Comment Share oO

140 Oldest

11 Shares

Gg Kim Naylor Morris So handsome!
Like - Reply - 2y

@ Kimberly Booth You took the words right out of my mouth!
Like - Reply « 2y

Write a reply...

Wendy Combs Booth Boo looks awesome.

Like - Reply - 2y

Darcey Bowen Can't believe that big guy used to suck on my thu",

Like - Reply - 2y

Deanna S Bowen He chewed on my chin!

Like - Reply - 2y

Douglas Quade Great Photo !

©®d s@

Like - Reply - 2y

PETA0001213
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Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 26 of 61
Bonnie Ann When was that Darcey Bowen? He's not one in the pics with Ashley Cheak is he? Might be a

stupid question..if so sorry
Like - Reply - 2y
Tri-State Zoological Park & Animal Park, Care & Rescue 501c3Bu is 11 years old now! This photo was

shortly after we moved him into his new enclosure. He is anxiously awaiting his new "girlfriend" Peka when
she is old enough to share the enclosure with him. She is housed beside him now. 3

Like - Reply - 2y

Darcey Bowen Yep Bonnie! It's him!

Like - Reply - 2y

Bonnie Ann Have to show ashley and chuck

Like - Reply - 2y

Brandon Mckenzie Ryan Morgan

Like - Reply - 1y

Marcy Brack Beautiful Boo
Like - Reply - 1y

Gina Wiley Boo Boy.
Like - Reply - ty

Debbie Bright Wonderful place.......
Like - Reply - 1y

Terri Richardson oh is that Bu? how majestic and proud he looks

Like - Reply - ty

Dee Schildt | love you Bu !!!!
Like - Reply - 1y

Kim Kleo According to PETA, this lion just died of starvation!!! http:/Avww.peta.org/.../urge-tri-state-zoo-
retire.../

Like - Reply - 52w

Tri-State Zoological Park & Animal Park, Care & Rescue 501c3This is Jessica, the owners daughter,
anyone reading the above comment from Kim Kleo, please do not listen to her. | usually try to be civil on

this public page, but this really upsets me. 1st off, PETA kills more animals than it helps. It is a HORRIBLE
organization that "pretends" to be for the good of an animal when in fact alls it does it cause harm to
animals THAT ARE FINE! Bu DID NOT die of starvation! Yes, he lost a little weight, but HE WAS OLD!!! He
ate full deers up until the day he passed. If people like you would come support the zoo, maybe you would
see that every animal is fed and cared for. PETA is out to close all zoos, sanctuaries, etc. DO NOT LISTEN
TO THEM!!!! & just so PETA is aware, any harassment is documented, and legal action will be taken if you
continue. If anyone has any questions, please let me know 3

Like - Reply - 52w

Kim Naylor Morris We know Bu was well cared for and loved by so many!! People need to
research PETA before they listen to such a horrible organization ! 2

PETA0001214
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 27 of 61
Like - Reply - 52w

Tri-State Zoological Park & Animal Park, Care & Rescue 501c3 And also, she lives in california, i
highly doubt she had even heard of our little rescue (ves RESCUE! WE ARE NOT ACTUALLY A
ZOO!!!)

Like - Reply - 52w

Kim Kleo |'m repeating what | read on their page. According to PETA, the USDA suspended your
licence for 45 days in 2013. If that isn't true, how come you did not sue them for printing that?

Like - Reply - 52w

Kim Kleo | live in California. | cannot go to your zoo to confirm that every animal is cared for. The
USDA does that, and according to PETA they have filed reports for years that you are not doing so.
Posting something that has been published is not harassment!... See More

Like - Reply - 52w

Tri-State Zoological Park & Animal Park, Care & Rescue 501c3 This is another volunteer who
helps run this page. PETA publishes whatever makes our establishment sound all doom and gloom.
Its called sensationalism for their agenda. The 45 day closure you are referencing happened while
the zoo was already closed for the season, therefore we were not under the guidelines of the USDA
for being an exhibitor at that time and they actually are not allowed on the property while the zoo is
closed for the season.

Furthermore, the USDA does not publish any follow up information to any complaints. When we are
found in violation we have so many days to become compliant. They do not list that we made those
changes. They also do NOT list when we are inspected, which is quite often, and we are in
compliance with everything. No one wants to read good reports. They also do not list that we did in
fact go to court and many of us testified and the majority of the issues were removed. USDA'S goal
is to find something on every visit. It doesn't matter how miniscule.

"Oh look, a mouse in the feed shed. We'll write that one down.” Now wait a minute you said we
couldn't have pesticides in the feed shed, so now we have free roaming, vaccinated
spayed/neutered cats (which by the way were abandoned) on premises to control natural occurring
rodents. "Nope that's not good enough." So what do you suggest we do? "We cant tell you how to
correct it.”

"This enclosure isn't up to standard." Okay, how so? Tell us what else to add besides the two layers
of 12 ft fencing within a second "catch cage" area. Along with an insulated, professionally
manufactured building with electric as cover. Where are the guidelines and specifications? "We
don't provide that information."

This is constant. | will be the first to admit that the aesthetics of the zoo could be better, but those
are for the guests comfort. Our owner's most important rule...The animals always, always come
first.

People across the country who think they are helping animals, blindly follow these extreme animal
rights groups and have no idea what they are supporting. These people believe that no one should
ever have ANY animal in captivity, including cats and dogs.

You yourself said you've never been to our establishment. Which means you have never met us, nor
any of the animals we love so faithfully. Take a minute to read some other stories on our site. | will
suggest the first one you start with is Lucky's story. Then move on to the story about Bu and find the
point where the USDA told us how we should deal with his illness that we spent thousands of dollars
testing on when really the problem was his advanced age and that he had lived well past the normal
age of a male lion in captivity. Our hearts were broken when we lost him.

Yes, you have hit a nerve. These activists continually harass us and post links on their pages
encouraging others to contact us. Every time you copy one of their links and forward it to anyone of

PETA0001215
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 28 of 61
the zoos or rescues that they have listed, you are participating in harassment. Just because PETA

posts a link does not necessarily, nor legally, mean it is true.

This annoying behavior goes through spurts and every time we do something positive or post an
event, these kind of negative remarks start from all over the country from people sitting behind
phone or computer screens. It wastes our valuable time banning and deleting these individuals
when we could be being more productive helping the animals.

Our supporters know exactly who we are and the love and passion we have for those entrusted to
our care. When Bu passed in December an entire community mourned this animals loss. Your
callous remarks and accusations from the opposite end of the country only make you look the fool.

Your profile is public, so in true PETA fashion our supporters have the right to contact you about the

opinions you have posted to our page. 2

Like - Reply - 52w - Edited

Kim Kleo Thank you for your post. God bless you and your service to the animals

PETA0001216
4/7/2018 ur Incredible rps

a 26 ;
Case 1:20-cv-01225-PX Document 71-43 hed 15/0/31 Page 29 of 61
Tri-State Zoological Park (/web/20161026185833/http://www.tristatezoologicalpark.com:80/)

¢ Home (/web/20161026185833/http://www.tristatezoologicalpark.com:80/)

¢ Hours, Rates & Directions (/web/20161026185833/http://www.tristatezoologicalpark.com:80/hours-rates--
directions.html)

« Education, Programs & Birthdays

(4web/20161026185833/http://www.tristatezoologicalpark.com:80/education-programs--birthdays.html)
¢ Scrapbook (/web/20161026185833/http://www.tristatezoologicalpark.com:80/scrapbook.html)

Our Incredible Loss

In the early morning hours of Wednesday, March 29, 2006 the main building of our zoo caught fire and was completely
destroyed. The building housed all of our exotic birds, reptiles, monkeys and other small animals. All of the animals inside the
building with the exception of 2 alligators, perished in the fire. Due to the confusion we neglected to say that our Guard Dog,
Cumber, made it out unscathed and one of the babies Ring-tailed Lemurs Bandit; was off site at the time of the fire and was
not in any danger. We were told that most of the animals probably died of smoke inhalation and hopefully they did not suffer.

There are no words to describe the feelings we are experiencing right now. Every one of those animals was special to us and in
our hearts can never be replaced.

The structure is a complete loss, but we will rebuild! Our beloved animals are irreplaceable to us. We are hoping with the
community's support we will be able to reconstruct our main hall and be able to provide a comfortable home for many
donated, unwanted, rescued or abused animals once again. The outpouring support from the community has been
overwhelming. The fire was deemed electrical and we will continue to recover from our loss with your help.

For those of you who would like to support us you can go to our contact page for more information. We are now open 7 days a
week. So please stop out and visit us! We are so blessed to be surrounded by such a caring community and hope we can bring

our zoo back to life and once again be a benefit to the community.

Below is a list of our beloved animals that perished in the fire. We know that many of you had special attachments to some of
our animals and we find comfort that you are grieving along with us. We hope to soon include photos of those we lost.

Peaches - Cockatoo

Kiwi - Cockatoo

Powder - Cockatoo

Daisy - Cockatoo

Dr. Ryan - Pigtail Macaque
Pirate - Blue and Gold Macaw
Tiki - Scarlet Macaw

Elmo - Green Wing Macaw

https://web.archive. org/web/201610261 85833/http:/Avww.tristatezoologicalpark.com:80/our-incredible-loss. html 1/3

PETA0001217
7 ° ym
. 2018 sorb C35° 1:20-0V-01225-PX Document 71-43 riled 19/90/31 Page 30 of 61
azuu - nornbl

Boomer - Lemur (baby)
Wally, Whiley, Bruce,Rufus - Alligators
Stinkey-Armadillo

Scarlet; (along w/her 17 babies just born), Slick,Harley; - Red Tail Boas
Elvis - King Snake

Doby - Capuchin Monkey

Coati,Wild Bill - Coatimundi

Spike- Serval

Rebel- Caracal

Bond - Rhesus Macaque

2 Hamsters-2 Guinea Pigs

Caiman

Tree Frog

6 Water Turtles- (1 named Terpie)

4 Snapping Turtles

7 Iguana

2 Albino Burmese Pythons

Several Small Species of birds including: Cockatiels, Parakeets, Bourkes, Lovebirds, Conure, Finches, Parrotlettes
3 Prairie Dogs

Buddy - Black-Throat Monitor

Ball Python

2 Bearded Dragons

3 Baby Sulcatta's (2 were Louis &Louise)
Egyptian Fruit Bat

4 Ring-tailed Lemurs

Tank and Goliath (and an unnamed)- 3 large Sulcatta Tortoises

Leonardo -Sulcatta Tortoise

https://web.archive.org/web/201610261 85833/http:/Avww.tristatezoologicalpark.com:80/our-incredible-loss. html 2/3

PETA0001218
7 ° ym
47712018 Case 1:20-cv-01225-PX Document 7L43 hed 12S0/21 Page 31 of 61
Red-foot Tortoise

South American Wood Turtle

Several Box Turtles

Web Hosting (https://web.archive.org/web/20161026185833/http://www.ipower.com/) by IPOWER

https://web.archive.org/web/201610261 85833/http:/Avww.tristatezoologicalpark.com:80/our-incredible-loss. html 3/3

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Case 1:20-cv-01225-PX

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Document /1- /

led 12/30/31 Page 32 of 61

: Tri-State Zoological Park & Animal Park, Care & Rescue 501¢3
November 10, 2016 -

Bob Candy, Director of the Tri-State Zoo Animal Park, Care & Rescue’s official statement:

In response to the recent, exaggerated news reports, after careful consideration, we here at the Tri-State Zoo felt tt necessary
to inform our loyal patrons, as well as the general public of the aging condition of our male, African Lion, Mbube,
affectionately known as, Bu to the local community for the last 13 years. It is to be noted, that none of the news outlets
reporting this story have contacted us for an official comment or any further information.

In August, we began to notice subtle changes in Bu’s appearance. We documented slight weight loss, darkening of his coat,
and loss of his beautiful mane. We immediately consulted our local veterinarian and began evaluation, research, and
treatment to diagnosis the problem. During that time, we initiated conversations with other wildlife and exotic specialists, as
well.

As we tested Bu for possible viral and parasitic infections, to which the results came back negative, it became clear to us that
his age was a defining factor in his condition. A male, African Lion’s typical lifespan is between 12-13 years, females can
live up to 18. Bu is now 13 years old — at 9 to 10 years a male lion begins to lose his testosterone, resulting in loss of mane
and darkening of coat.

In October, we recetved an inspection from the U.S.D.A., whom by which we are licensed and governed, as a direct result of
a complaint by an extreme, animal rights activist group, not even located on the east coast. A photo showed a picture of Bu
relaxing in the sun, as usual, only it was noted that he appeared thin.

Upon official inspection; the U.S.D.A. gave us only two options, even though we were already consulting with our
veterinarians and other specialists. We were told to sedate him for further, invasive testing or simply euthanize him. Neither
of these options were our or our team of specialist’s first choice. Although we and our team expressed concern about the
results of anesthesia on an elderly lion, the U.S.D.A. inspector’s response was, that his not awakening from the anesthesia
could solve the problem. Sedating a lion in his advanced years and weakened state 1s dangerous. U.S.D.A was asked, “Can’t
an animal just grow old?’ Their response was; no, because of the inconvenience of having to respond to all public comments
and complaints regarding the animal. We feel, here at the rescue, that euthanizing an animal when it is not in pain and only
because of his advanced age and appearance, is not ethical and should not be an option. After all, not many would want to
make this choice for their own loved ones who are simply aging. The decisions being made about Bu’s care and remaining
years are now being dictated, not by those of us who have hand fed and cared for this magnificent beast, since he arrived
here as a 10 day old cub, but by people who have never even visited our establishment, have never had experience with
exotic animals, nor even met Bu.

We are angry.

We made the decision to remove Bu from the public exhibit, so we could care for him in private and away from judgmental
eyes, as well as to give him solitude in his own area. Bu remains under the care of the Animal Park Care & Rescue and his
capable and dedicated handlers.

We made the difficult decision to submit Bu to the risky process of further testing, even though it was not recommended by
specialists in the field, in order to comply with the U.S.D.A. report. These tests were very expensive, difficult to perform,
not to mention, dangerous. But we complied, rather than euthanize an animal that we dearly love.

Those tests provided the following results:

* * Normal expectations for a 13 year old lion

** Preliminary results after consultation with other exotic veterinarians show the probability of a benign tumor in his
pituitary gland, which is affecting his thyroid.

* * Although on medication, the condition is considered permanent.

** His lifespan is undetermined, but he remains comfortable and not in any pain.

** His will never regain the appearance of the young lion he once was due to the natural aging process.

Bu is responding well to the treatment. He is eating well, every day and interacting with his handlers, as usual. Because of
the tumor, he has regained some of his weight, but not all of it. At well over 400Ibs, he is considered a healthy weight for a

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Case 1:20-cv-01225-PX Document /1-

male lion of his age.

43 Filed 12/20/01 Page 33 of 61

We ask that during this difficult time, you show compassion and sympathy, as we deal with the reality that our beloved Bu
will not be with us forever. Most of our patrons and guests are animal lovers and understand the feeling of losing a loved
one, be it human, pet, or wildlife. We have an intense, emotional bond with all of our animals here at the Zoo and Rescue.
We do not do this job to get rich or for entertainment, as some continue to suggest. I, along with my dedicated staff of
volunteers, do it out of love and devotion to these great animals. We serve them and do our very best to enrich their lives and
give them a loving home, so that the public can appreciate their magnificence.

In closing, we ask that you take into consideration, the nature of who initiated this unwarranted inspection. Do your own
research, visit us, and please ask US your questions. We will happily answer them all. Thank you to those of you who have
supported and continue to support us. We deeply appreciate your devotion to the animals we love and care for.

Even old lions like to roar, be 1t human or animal; we want to allow Bu to have that opportunity to be himself as long as he
is able. He will always be beautiful, magnificent, and young in our eyes.

Like Comment Share oO
225 Chronological
102 Shares 53 Comments

© Deborah Andrews Well said. Your passion for Buis cl,

Like: Reply - ly

© Karen Middleton Very well stated. We will miss seeing’,
Like - Reply - ly

© Jackie Breon Pumphrey Much love to you guys and Bu. We love the zoo. Maybe it isn't a fancy zoo with all the bells
and whistles like the big zoos but that's what we love about it and clearly any money coming in goes to the care of the
animals. Bu is obviously well cared for or he wouldn't have made it to his advanced age. We stand behind you all, the
humans and animals alike. 5

Like - Reply - ly - Edited
& Katherine Brooke The community needs to stop complaining and start helping. Get you all more funding going, if
they all cared so much about the animals they would help boost you guys the way you need to go. The lack of funding

and volunteers is the issue for how the zoo 1s. No it's not like other bigger zoos. But, then again ask yourself "Are you
helping make this zoo better?" Until you can answer yes. Don't complain. 9

Like: Reply - ly
by Bonnie Jean Clutts Kellerhouse Jennifer Gustaitis-Garland,David Dranbauer hopefully this will help answer
, questions brought to your attention.
Like - Reply - ly - Edited
& Jeremy Pomeroy We have seen bu for years and years. He is my favorite to see every time were out there. You guys

do a great job and I know how much bu means to you Bob. We will keep him 1n our prayers as he enjoys the time he
has remaining. 1

Like - Reply - ly

> Mindy Glenn Aww. I'm sorry I know how much Bob and everyone love Bu as well as all the other animals there. I
hope he gets to spend his remaining time on earth being loved by the people that be trusts. @ 2
Like - Reply - ly

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Tri-State Zoological Park & Animal Pa je re & Rescue 501¢3 - Posts
Case 1:20-Cv-O01225- x een (1-43 12/0121 Page 34 of 61

Mellony Lee Newcomer LOVE I'm so sorry people aa ie well we'll just say péo~" |

Like « Reply - ly

Brittany Reed Awwwwww | know Bu is like a son to Bob! Working at the Zoo I saw and participated in Bu's care

and it was NEVER skimped on. All out the animals are so well cared for and loved. Everyone will miss Bu and I just
can't believe the USDA even suggested doing risky procedure to "fix the problem so they don't have to respond" that's
disgusting and they should be ashamed. Bu deserves to live his life happy and relaxed 3

Like: Reply - ly

Kayla Kelly I've been there several times as well as volunteering thee. I currently work at Nemacolin's Zoo in PA and
it's always difficult to see an animal you care for suffer. Bu is a gorgeous animal and I wish him good health and a
little longer life @ 2

Like - Reply - ly

Robin Vereen My heart 1s breaking that you have had to endure such judgement. Thank you for all the care you give
to Bu and the other animals in your charge. I know you love them and care for them all well. 2

Like « Reply - ly

Steve Malcolm Typical government decision. Screw the people AND the L* |
Like - Reply - ly

Kellyn Bumbaugh Bob you are an amazing compassionate person for animals! | thoroughly enjoy my visits to the
zoo. You have even taken the time to give me advice about my own problems with nosy people and my older and
special needs rescues. You truly are awesome and always put the animals first. Thank you for all you do for them. I
hope Bu lives to be the oldest lion! 1

Like - Reply - ly

Jeff Kinzer My thoughts and prayers are with you guys. People always want to stick their noses where they don't
belong. 4 2

Like : Reply - ly

Kim Vereen Cole | live in Indiana and love your zoo. It is evident by all that work and volunteer there how much you
love and care for these animals. When I come back to your town I look forward to again visiting your fine
establishment. 2

Like - Reply - ly

Darcey Bowen Very very well said

Like: Reply - ly

Terri Richardson Ive never seen him. Wish I did. This made me cry. The love you have for him 1s so evident and
makes me happy. God bless Bu and all your animals and staff 1

Like - Reply - ly

Tri-State Zoological Park & Animal Park, Care & Rescue 501c3 You will not find a zoo that gives more love and
attention than Tristate Zoo. All of us who have volunteered over the years can attest to the care level Bu and the other
animals recetve. We may not have the prettiest enclosures and walks but visitors are amazed at how they are able to
clearly view and enjoy watching the animals. Long live Bu!

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ri-State Zoological Park & 5
1 Page 35 of 61

Ti Animal Park, Care &
Case 1:20-cv-01225-PX Document /1- | d

  

2

Like - Reply - ly

3 Replies

Deanna S Bowen Love him! Well said!

Like - Reply - ly

Karen Middleton

 

Like - Reply - ly

Kathy Dicker You are an amazing man, your zoo 1s so full of love, sending prayers to you and your staff from Flo~’" ,

Like - Reply - ly

Bailey Saville Susan Bean Fisher

Like: Reply - ly

oy
&
C3

Carol Elizabeth Martin Leave Bu to die of old ~ 1
Like - Reply - ly

Sydney McFarland Nick Rosati

€

Like - Reply - ly

Maria Townsend We love what you do for the anime" "';

~~

Like : Reply - ly

Teresa Hershberger Such a beautiful guy
Like - Reply - ly

Traci Bender Beautifully said. Praying for Bu and the 7,

Like - Reply - ly

36 6

Jennifer Gustaitis-Garland It's just like the media to do something like this. Makes me sad that Bu is getting older
and has things wrong with him but unfortunately just like humans it's a part of Irfe. 2
Like - Reply - ly

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Tri-State Zoological Park & Animal Pan eS re & Rescue 501¢3 - Pos
Case 1:20-cv-01225-PX Document /1-43 12/20/21 Page 36 of 61

Beth Owens [| love your zoo,your animals and the obvious love you a your volunteers haveTor your animals. Feel

better bu.

Like - Reply - ly

1

Tammy Guthrie Thank you for your amazing work and care of the anim" ,

Like : Reply - ly

Deborah Mawmaw Smith Very good write up Bob. Thank* ,
Like - Reply - ly

Alysa Love Prayers to all of you at the zoo and for Bu to be left to grow old with those that I am certain are dear to
him as well. Q@E9 %

Like « Reply - ly
Patti Meadows Very well written. Thoughts and prayers to Bu and staff. We had a wonderful time there this past year

both at Halloween and Easter. 2

Like - Reply - ly

Samantha Wolfe ‘lake care of Bu! Don't worry about what the morons have to say!! Keep him healthy and safe from
the prying eye. 4
Like - Reply - ly

Donna Smith Praying for Bu! You all have a wonderful heart. _e* 1

Like « Reply - ly

Sandra Small Oh Dear Lord. I am crying. May you be happy, Bu. Bless your human far” |
Like - Reply - ly
Sharon Wojtas VanDam | will always remember the week we spent helping at your zoo Bob, 1t was amazing to

witness you and your volunteers love and respect that you have for all animals. I'm so sorry that anyone would ever
question that you didn't have the animals best inter... See More 2

Like : Reply - ly
Theresa Anderson Cowger What a beautiful and magnificent creature. Bob I have only met u on a couple occasions

but I know ur love and commitment to ur animals. For someone to start slinging un truths about ur devotion knows
nothing about u or your zoo. I wonder how they would... See More 1

Like : Reply - ly
Carrie Knepp We were lucky enough to meet Bu when we visited a few years back. Thanks so much for giving us a
great experience. 1

Like- Reply - ly

Brittney Dyer Misty Sarver Dyer this is so sad
Like: Reply - ly
Ashley Bean Awe!! I was wondering how you guys were doing. I know this company that you speak of because I got

a text from them about signing a petition against you guys! I declined. I have been to your zoo! Its a family favorite!
When we visit my grandparents the... See More 1

Like - Reply - ly

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Tri-State Zoological Park & Animal Park, Care & Rescue 501¢3 - Posts.
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Lorraine Ricewick Bryant Years ago we gave our son a birthday party at your park. While we were there I was so
pleased to see the love you all showed toward these animals. Later me and the same son came out to volunteer with
you. It was even better to see how you interacted wi... See More 2

Like - Reply - ly - Edited

Jennifer Baker Very well written. <= Bu should live out his life and enjoy it. Creepers suck and certain ones like to
cause issues . Keep up the good work <= thoughts and prayers to all. QP 2

Like: Reply - ly

Ellen Parker Sending prayer let Bu live on the rest of his Itfe with his loved ones. Haters will be hateing but you all
have a amazing loving staff. Thanks for all you all do 3
Like - Reply - ly

Barbara Sharp Thank you for caring so much! When the time comes Bu will cross the Rainbow bridge naturally.

You are doing the right thing! 1

Like - Reply - ly

Rachel Harper Kristen Lamp
Like- Reply - ly

Rena Buser Thank you to all the volunteers. I miss» ~,
Like - Reply - ly
Dana Calvert Sneathen Praying for Bu! We missed seeing him at Bu at the Zoo, thank you for telling us why. May

he live his last days in peace, quiet and tranquility! Keep fighting those jerks for his rights, Bob!! Love, hugs and
prayers to you all, especially Bu i 2

Like - Reply - ly
Tri-State Zoological Park & Animal Park, Care & Rescue 501c3Thank you all for your outpouring of support and

very kind words. Please continue to share and comment, tt lifts our spirits to know how loved Bu is and that we have
so many people rooting for out little zoo. U2 10

Like - Reply - ly

Theresa Anderson Cowger Will do. Great little~ |

Like « Reply - ly

Jen Howl Prayers for Bu and his family. Pt ch ww na tmy” ,

Like - Reply - ly

Carolyn Nave Thank you Bob and all who care for Bu. Brianna and I can't wait to begin to visit zoo again come
spring

Like - Reply - ly

Write a comment...

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PETA0001225
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Tri-State Zoological Park & Animal Park, Care & Rescue
501¢c3
February 18, 2017 -

We'd like to take a moment to thank all of our dedicated volunteers who have given so much of themselves over
the past 15 years to care for the animals here at the Tri-State Zoo, Animal Park Care and Rescue. Being a
volunteer at the zoo is hard work, but it is so rewarding to be a part of these amazing animals’ lives. We are
thankful for all the hours our volunteers have unselfishly given over the years. To all the volunteers, both past
and present, a sincere thank you for all you do and have done to care for the animals residing here.

Sadly, at this time, we must announce the passing of one of our most beloved animals here at the zoo. Mbube,
lovingly known as Bu, our beautiful male lion, has passed away. Ve are heartbroken over this loss, as we know
the local community, volunteers, and friends of the zoo, will be also.

Aging is inevitable, but that doesn’t begin to prepare you for the emotional ending of such a majestic creature’s
life. We have been incredibly honored to spend the past 13 years caring for Bu and even though we knew his
time with us was quickly approaching, we are still struggling to come to terms with the deafening silence of his
absence.

Bu spent his last days, quietly resting in his enclosure, under the careful watch of our licensed veterinarian, along
with zoo owner, Bob Candy. Bob spent each day by Bu’s side, hand-feeding him, talking with him, and patiently
caring for him until he took his last breath. Bu passed peacefully and without pain.

As a playful cub, who barely fit in the palm of Bob’s hand when he first came to the zoo, Bu quickly stole the
hearts of everyone who met him. Bu and Bob shared a very special bond throughout the years that many people
were quite surprised by. Bu could tell the minute that Bob stepped onto the property and would loudly call to him
until Bob stopped whatever he was doing and made sure to rub a certain spoiled lion’s belly. As he grew larger
and stronger, he still demanded Bob’s attention and could sometimes be seen running like a kitten at the sound
of Bob’s voice. As Bob watched his dear friend age, one of his favorite sayings was, “Even old lions like to roar
and we want to let Bu be himself as long as he can.” His dedication and love for Bu has never wavered. He and
the entire volunteer staff at the zoo are mourning the loss of this amazing animal as best as we know how.

Yet, we simply cannot discount the public’s grief for our loss, as well. We sincerely appreciate all the kind words,
expressions of sympathy, and support that we have received since our announcement in November, of Bu’s
aging circumstances. It has been a great honor and a privilege for many of us to have had a hand in raising Bu
from a ten-day-old cub, into the magnificent lion he was. Many of you were blessed to have shared in this
incredible journey with us.

We are planning for some sort of memorial, but at this time, we just cannot wrap our hearts and minds around
that task, so we ask for your patience while we find something appropriate to honor him. If you would like to send
a card to the zoo, please do — Bob isn’t on any sort of social media, so | know he would greatly appreciate it. And
please feel free to post your favorite memory or photo of our dear Bu here on Facebook to share. The zoo
continues to remain closed for the rest of the season, despite the warm weather. We will reopen in April as usual.
Your sympathy and kindness are greatly appreciated during this difficult time.

One does not simply look into the eyes of a lion and remain unaffected. Sharing his space, feeling his breath, his
glare, his fierceness, his power, experiencing the ground tremor under your feet when he roars, yet knowing he
recognizes you and sees you as one of his, alters your perspective. Some will insist that a wild animal cannot
truly love humans. | disagree. | have witnessed it. Rest easy sweet Bu, you will forever remain in the hearts and
memories of many.

~ Nicky, TSZ Volunteer Staff

~ Bu ~ 2004 ~ Photo Credit ~ Crisstudio ~

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0/21 Page 39 of 61

  
  

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a Janet Conn Mckenzie sad!

Like - Reply - 1y
& Tari Long

fii

Like - Reply - 1y

Misty LaRue Prayers he was very loved

ee ee

 

Like - Reply - ty

‘eB Dana Calvert Sneathen Rest easy sweet Bu. Love, hugs and prayers to Bob, Jessica, Hunter and all the
Zoo staff and volunteers QP

Like - Reply - 1y

PETA0001227
 

 

   

Teress PSS 8S OE ie foie alee en a ae ae | File pee eae iS e001 past

year. He will be forever remembered. My thoughts and prayers are with Bob and all the other workers. RIP
Bu

Like - Reply - 1y

Lorie Rowe Stake @ Wm WW

Like - Reply - ty

Misty Smith Rest easy Bu
Like - Reply - 1y

Fallon Smith

Like - Reply - 1y

Brian Booth

Like - Reply - ty

Racheal Myers So sorry , Bob! RIP Bu
Like - Reply: ty

Brittany Reed RIP Bul!!! Everyone will miss you dearly
Like - Reply - ty

Chris Spiker RIP Bu.
Like - Reply - 1y

Debbie Alvord Bob Candy and Bonnie Jean Clutts Kellerhouse, I'm so sorry for the loss of Bu. | remember
when | first met Bu, it was like wow that's a Lion. | looked at Betty Lou and asked where's Tarzan? We both
had a good laugh. When ever Betty Lou went to the zoo | would ask how's Bu. 1

Like - Reply - 1y

Debbie Alvord RIP Bu.
Like - Reply - ty

PETA0001228
_ Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 41 of 61
Like - Reply - 1y

Becky Barclay So sorry for the loss of Bu! RIP sweet boy!) 4?
Like - Reply - 1y

Jackie Breon Pumphrey Our condolences on the passing of beautiful BU.

Like - Reply - ty

0
G
a

 

Kimberly Booth Bu in 2013

 

Kara Soulsby Kayla Rose
Like - Reply - 1y

Taylor Dudek Brittney Dyer

 

Like - Reply - ty
1 Reply
- Hailey Orndorff Ellen Engle did you see this?
Like - Reply: 1y
1 Reply

eh Dawn Frederick So sad to hear this. RIP Bu. Thank you Bob for giving us the opportunity to have an up
= close relationship with one of God's most beautiful animals.

Like - Reply - 1y
gy Kim Daum So sad and sorry for your loss.

Have fond memories of his roar echoing in the valley when we would fish at Three ponds. Would always
bring a smile to our face. 1

Like - Reply - ty

2 Maria Townsend Lily Woolard
Like - Reply - 1y

© Maria Zumpano Rest In Peace €. Beautiful animal!
Like - Reply - ty - Edited

Jennifer Hare RIP

PETA0001229
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 42 of 61
Fe Like - Reply - 1y

6 Robin Mcgee-cutter So sorry to hear of Bu's passing. Thinking and praying for all of you during this
sad time

Like - Reply - 1y

 

yy Carl Lockman Linda and | are very sorry for your loss. We thank you Bob Candy for the opportunity to
meet Bu up close and personal during our visit several years ago. RIP Bu.

 

Like - Reply - ty

Kathy Moran Missing him so much. Was a wonderful experience being there with him and the animals
each day. As one the volenteers it beyond difficult. But we remember the great joy he gave the community
and all the volenteers.

3

Like - Reply - 1y

Donna Lancaster So sorry...

Like - Reply - 1y

Tri-State Zoological Park & Animal Park, Care & Rescue 501c3Thank you everyone, for the kind words
and photos. We will print them out and make sure they are displayed. 5

wt

Like - Reply - 1y

Barb Dom So sorry, r.l.p. bu
Like - Reply - ty

Dagenais Boggs Loved this guy. Will miss him. So sorry for your loss

Like - Reply - 1y

Stacy Garlitz
os
“oO
Like - Reply - ty
Teri McKenzie Tyua Lanay Rice

Like - Reply - 1y

Tyua Lanay Rice Brian K Rice Jr. Ela Rice
Like - Reply - 1y

Theresa Anderson Cowger lam so sorry for the loss of such a magnificent lion. May he roam the fields in
all his glory.

S$Go& « @ @

PETA0001230
_ Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 43 of 61
Like - Reply - 1y

Pam Mckinley Ringer A beautifully written tribute. God bless everyone

Like - Reply - 1y

Cindi Lewis Gilman How Very sad. Sorry for your loss. Hugs!

Like - Reply - 1y

2 Brittany Nicole Garner Rip BuY

Like - Reply - 1y

Brittany Nicole Garner

 

   

Like - Reply - 1y

Donna Smith He will be missed ! Love lions, so sorry for his loss.'-> 2), , LH

 

Like - Reply - 1y

Like - Reply - 1y

& Cami Zembower So very sorry to read of Bu's passing. What a gorgeous majestic creature he was.9
ee Mindy Nield Mooney I'm sorry for the loss of Bu. Here is a photo | have of him from a few years back.

PETA0001231
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 44 of 61

  
   

ate

Like - Reply - 1y

O Meaghen D Newcomb
age es na oR

  
   

Like - Reply - 1y

O Meaghen D Newcomb

 

Shirley Jackson | amso sorry for your loss
Like - Reply - 1y

Shirley Jackson | have a great memory of him when he was a cub | got to experienced holding him and

playing with him this one day in the zoo office it was the best experience | have encountered in my life RIP
Bu you will be missed

 

Like - Reply - 1y

PETA0001232
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| Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3
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PETA0001236
 

 

 

 

Gy Tri-State Zoological Park & Animal
0 Rage A& @frédcue 501¢3

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Like - Reply
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rg Elk Wani Mowgli looks annoyed here -_- What a
howd

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Tri-State Zoological Park & Animal Park, Care & Rescue
501c3 shared their post.
August 2 at 3:01pm -

 

Tri-State Zoological Park & Animal Park, Care & Rescue 501c3
August 2 at 10:00am -

Owner Bob Candy and some friends at National Night Out in Cumberland.
Like Comment Share B
20 Chronological

Crystal Mongold Eisenhofer You people have no idea the love and care that
. Bob Candy gives to these animals. For 10 years we have been friends and

have been to this zoo. Bob, his family and the community have gone above and
beyond to provide for these animals. We no longer live in the area but you
continue to go and see the animals every time we come back home. We were
just there Thursday and these animals were very well fed and taken care of. We
were even given a personal tour of all the behind scenes as we do every time
we come in. We continue to donate and give back to this rescue zoo.

If you want to do something take the time to donate. This is a non profit zoo and
rescue center.

Like - Reply - 1- August 5 at 10:39am

ca Tri-State Zoological Park & Animal Park, Care & Rescue 501c3
Amen!

Like - Reply - 1- August 5 at 3:23pm

a Write a comment...

lofl 8/7/17, 3:13 PM
PETA0001240
Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 48 of 61

 

Animal Park, Care, & Rescue, Inc

$110 of $200,000 goal

Raised by 4 people in 7 days

The Zoo needs your help to keep our tigers, lion and other animals here in our community in their
forever homes.

Starting back in his childhood, founder and owner Bob Candy had a dream to open a zoo. His unofficial zoo
began at an early age as he always told his parents how much he loved animals, always bringing something
new home. Now a proud resident of Cumberland for over 36 years he has made his childhood dream a
reality, while sharing his love for the animals with the community.

Tri-State Zoo began in the spring of 2003 with arrival of the first tiger cubs. (One of these tiger cubs is the
mother of the three cubs pictured above who were born at the Zoo in 2007.)

In 2009, the Zoo formed the non-profit Animal Park, Care, & Rescue 501(c)3. to benefit the animals to give
them a lifelong home. The Zoo has many interactions with the community.

Community individuals and groups (schools, scouts, nursing homes and others) come to educational

programs and to volunteer. Many members of the community have known these animals since they were
babies. We bring "Murray, the groundhog" to the City of Cumberland for groundhog day, as well as easter

PETA0001241
egg hunts, Halloween celebratigns Bpat the Zoecandmare. Filed 12/20/21 Page 49 of 61

The Zoo needs your help to keep our tigers, lion and other animals here in our community.

Lately PETA has filed a lawsuit to have your lions, tigers and lemurs sent away. We are fighting these
unfounded accusations however it is creating legal costs which could amount to 10's of thousands of
dollars. As a small organization we do not have the funds for this fight. We need your help to raise the
money to keep your animals here in their intended forever home where they are well cared for and
loved.

We thank you for all the support and love, you (our community), have shown the animals over the years and
will appreciate any assistance you can provide for this special need.

& Leave a comment

(3_Add Photos Post

a DONNA HOUSEL (https://www.gofundme.com/mvc.php?
— route=person profile/byDid&d=BiSjazfVB725FSEFytexkaw5nkQRCdARySEwYmz3mlU

(https://wWaebsofundme.com/mvec.php?
route=pefsGHySseOh le/byDid&d=BiSjazfVB725FSEFytexkaw5nkQRCdARySEwYmz3mlU%3D)

Love these animals!

@ Share

$110 of $200,000 goal

Raised by 4 people in 7 days

Recent Donations v

$30
cE Chad English (https://www.gofundme.com/mvc.php?

route=person_profile/byDid&d=qUPGSscLiy9aAF 5uqg6AuUDORBONEWO1fAi2a

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route= See qUPGSscLiy9aAF5uq6AuDORBONEWQ1fAi2a%2Bo5QPkDs%3D)

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Love these animals!

@ Share

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PETA0001243
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“aaa Iri-State Zoological Park & Animal Park, Care & Resch se
501¢c3 was live
March 11 at 1:35pm

 

Zoo owner, Bob Candy talks about the need for donations to pay for

legal fees. An extreme animal rights activist group is threatening the
future of your local zoo!

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OO 167 Realtime Comments +

 

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7/13/2018 3) Tri-State Zoological Park & Animal Park, Care & Rescue 501c3 - Posts
Case 1:20-cv-01228.BX “Bocument 71-45" Filed 12/20/21 Page 52 of 61

. Tri-State Zoological Park & Animal Park, Care & Rescue
501¢c3
February 18, 2017 -

We'd like to take a moment to thank all of our dedicated volunteers who have given so much of themselves over
the past 15 years to care for the animals here at the Tri-State Zoo, Animal Park Care and Rescue. Being a
volunteer at the zoo is hard work, but it is so rewarding to be a part of these amazing animals’ lives. We are
thankful for all the hours our volunteers have unselfishly given over the years. To all the volunteers, both past
and present, a sincere thank you for all you do and have done to care for the animals residing here.

Sadly, at this time, we must announce the passing of one of our most beloved animals here at the zoo. Mbube,
lovingly known as Bu, our beautiful male lion, has passed away. We are heartbroken over this loss, as we know
the local community, volunteers, and friends of the zoo, will be also.

Aging is inevitable, but that doesn’t begin to prepare you for the emotional ending of such a majestic creature’s
life. We have been incredibly honored to spend the past 13 years caring for Bu and even though we knew his
time with us was quickly approaching, we are still struggling to come to terms with the deafening silence of his
absence.

Bu spent his last days, quietly resting in his enclosure, under the careful watch of our licensed veterinarian, along
with zoo owner, Bob Candy. Bob spent each day by Bu’s side, hand-feeding him, talking with him, and patiently
caring for him until he took his last breath. Bu passed peacefully and without pain.

As a playful cub, who barely fit in the palm of Bob’s hand when he first came to the zoo, Bu quickly stole the
hearts of everyone who met him. Bu and Bob shared a very special bond throughout the years that many people
were quite surprised by. Bu could tell the minute that Bob stepped onto the property and would loudly call to him
until Bob stopped whatever he was doing and made sure to rub a certain spoiled lion’s belly. As he grew larger
and stronger, he still demanded Bob’s attention and could sometimes be seen running like a kitten at the sound
of Bob’s voice. As Bob watched his dear friend age, one of his favorite sayings was, “Even old lions like to roar
and we want to let Bu be himself as long as he can.” His dedication and love for Bu has never wavered. He and
the entire volunteer staff at the zoo are mourning the loss of this amazing animal as best as we know how.

Yet, we simply cannot discount the public’s grief for our loss, as well. We sincerely appreciate all the kind words,
expressions of sympathy, and support that we have received since our announcement in November, of Bu’s
aging circumstances. It has been a great honor and a privilege for many of us to have had a hand in raising Bu
from a ten-day-old cub, into the magnificent lion he was. Many of you were blessed to have shared in this
incredible journey with us.

We are planning for some sort of memorial, but at this time, we just cannot wrap our hearts and minds around
that task, so we ask for your patience while we find something appropriate to honor him. If you would like to send
a card to the zoo, please do — Bob isn’t on any sort of social media, so | know he would greatly appreciate it. And
please feel free to post your favorite memory or photo of our dear Bu here on Facebook to share. The zoo
continues to remain closed for the rest of the season, despite the warm weather. We will reopen in April as usual.
Your sympathy and kindness are greatly appreciated during this difficult time.

One does not simply look into the eyes of a lion and remain unaffected. Sharing his space, feeling his breath, his
glare, his fierceness, his power, experiencing the ground tremor under your feet when he roars, yet knowing he
recognizes you and sees you as one of his, alters your perspective. Some will insist that a wild animal cannot
truly love humans. | disagree. | have witnessed it. Rest easy sweet Bu, you will forever remain in the hearts and
memories of many.

~ Nicky, TSZ Volunteer Staff

~ Bu ~ 2004 ~ Photo Credit ~ Crisstudio ~

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& Rescue 501c3 - Posts

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7/13/2018

205 7? Comments 77 Shares
Like Comment Share oO
Oldest

9 Lisa Marie Bush Perfect man of my dreams... Rest easy Bu...

 

Like - Reply - ty
& Nicky Cramer-Wiley Oh the ridiculous love affair the two of you he ,

Like - Reply - 1y
Write a reply...
‘ay Brittany Wallizer | read this with tears in my eyes.. Bu was such a beautiful anir--",
Like - Reply - 1y

Mindy Glenn Aww. | was just wondering how he was doing. ** RIP buddy, you are gonna be a beautiful
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Case, 1:20-cv-01208- BX “Document 71-4 Filed 12/20/21 Page 54 of 61
angel." / [ will definetly miss him. |<

Like - Reply - ty

® Mindy Glenn God Bless you Bob. | can't imagine your pain. —
Like - Reply - ty

bes ) Jen Tarr | was just telling a friend last night about Bu, and how incredible this zoo is.

a7

—

 

Like - Reply - 1y

(ics Karen Middleton So sorry for everyone's loss. I'm glad | got to see this magnificent lion at the Zoo. He will
= be missed. @
Like - Reply - 1y

bo Bonnie Jean Clutts Kellerhouse Bu you will never be forgotten, sweet buddy. It was a pleasure watching
you grow and being a part of your life.

 

12
Like - Reply - 1y
6 Replies
aby Rick Bibbee Hope Peka handles this well, and doesnt miss him too badly.
. Our thoughts are with you. 1
Like - Reply - 1y

Like - Reply - ty

i

fo"? Brittney Humbertson Caleb Meyers ja) ay ay

Like - Reply - 1y
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Bage 55 of 61

Jeremy Pomeroy Rip big guy. A great lion. Glad | have seen him grow up. Probably the closest | will ever
get to another lion. Sad that him and the female didn't get to reproduce first to.continue his memory. Bob

I'm sorry for your loss. | know how close he was to you.

Like - Reply - 1y

Zach Goldsmith

  

Like - Reply - 1y

Ashley Carter Beth Owens =
Like - Reply - 1y

Kelly Brewington April Painter
Like - Reply - 1y
2 Replies

Marilyn O’Brien Perdew Hannah Dawson FY!!!!

Like - Reply - 1y

Brandon Mckenzie Janet Conn Mckenzie

Like - Reply - 1y

Janet Conn Mckenzie sad!

Like - Reply - 1y

Misty LaRue Prayers he was very loved

a aa

Like - Reply - ty

Tari Long

4/10

PETA0003661
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3) Tri-State Zoological Park & Animal Park, Care & Rescue 501c3 - Posts
Case 1:20-cv-01225-PX Document 71-43° Filed 12/20/21 Page 56 of 61

Like - Reply - ty

Dana Calvert Sneathen Rest easy sweet Bu. Love, hugs and prayers to Bob, Jessica, Hunter and all the

AA

Zoo staff and volunteers @ J.

Ke.

Like - Reply - 1y

Teresa Soley So very sorry to be reading this. My kids and | loved Bu and we didn't get to come this past
year. He will be forever remembered. My thoughts and prayers are with Bob and all the other workers. RIP
Bu

Like - Reply - ty

Lorie Rowe Stake (fa) ja) ja) jy

Like - Reply - 1y

Misty Smith Rest easy Bu
Like - Reply - 1y

Fallon Smith

 
  

a=
Like - Reply - 1y

 

Brian Booth

 

Like - Reply - 1y

Be Racheal Myers So sorry , Bob! RIP Bu&
Like - Reply - ty

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7/13/2018 3) Tri-State Zoological Park & Animal Fare ar i Rescue 501c3 - Posts
e€

_, Case 1:20-cv-01225-PX Document 71-43 Filed 12/20/21 Page 57 of 61
ff Brittany Reed RIP Bu!!!! Everyone will miss you dearly
Ey ike - Reply « ty
W Chris Spiker RIP Bu.
Like - Reply - ty

ania Debbie Alvord Bob Candy and Bonnie Jean Clutts Kellerhouse, I'm so sorry for the loss of Bu. | remember
= when | first met Bu, it was like wow that's a Lion. | looked at Betty Lou and asked where's Tarzan? We both
had a good laugh. When ever Betty Lou went to the zoo | would ask how's Bu. 4

Like - Reply - 1y

<2) Debbie Alvord RIP Bu.
Like - Reply - ty

Like - Reply - ty

Like - Reply - 1y

Jackie Breon Pumphrey Our condolences on the passing of beautiful BU.

Like - Reply - 1y

Kimberly Booth Bu in 2013

ny) Becky Barclay So sorry for the loss of Bu! RIP sweet boy!) @P

 

Kara Soulsby Kayla Rose
Like - Reply - 1y

Taylor Dudek Brittney Dyer

© ©

Like - Reply - 1y
1 Reply
- Hailey Orndorff Ellen Engle did you see this?
Like - Reply - 1y
1 Reply

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2) BS -State Aornine nes & Animal Fie a4 EH BRIS scue aT Posts

Case 1:20-cv-01225-PX Document (1-43 Filed 12/2 age. 08 of 61
Dawn Frederick So sad fo hear this. RIP Bu. Thank you Bob for giving us ‘ora nema nity to have an up
close relationship with one of God's most beautiful animals.
Like - Reply - 1y
Kim Daum So sad and sorry for your loss.

Have fond memories of his roar echoing in the valley when we would fish at Three ponds. Would always
bring a smile to our face. 1

Like - Reply - 1y

Maria Townsend Lily Woolard

Like - Reply - 1y

Maria Zumpano Rest In Peace €#. Beautiful animal!

Like - Reply - 1y - Edited

Jennifer Hare RIP

Like - Reply - 1y

Robin Mcgee-cutter So sorry to hear of Bu's passing. Thinking and praying for all of you during this sad
time

Like - Reply - 1y

Carl Lockman Linda and | are very sorry for your loss. We thank you Bob Candy for the opportunity to
meet Bu up close and personal during our visit several years ago. RIP Bu.

Like - Reply - ty

Kathy Moran Missing him so much. Was a wonderful experience being there with him and the animals
each day. As one the volenteers it beyond difficult. But we remember the great joy he gave the community
and all the volenteers.

Like - Reply - 1y

Donna Lancaster So sorry...

Like - Reply - 1y

Tri-State Zoological Park & Animal Park, Care & Rescue 501c3Thank you everyone, for the kind words
and photos. We will print them out and make sure they are displayed. 5

Like - Reply - 1y

Barb Dom So sorry, r.l.p. bu
Like - Reply - 1y

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Case 1:20-cv-01225-PX “Bocument 71-43" Fi ed 1212 14 ’Bage 59 of 61

Dagenais Boggs Loved this guy. Pail miss him. So sorry for your

Like - Reply - ty

Stacy Garlitz
s3
=e
Like - Reply - ty
Teri McKenzie Tyua Lanay Rice

Like - Reply - 1y

Tyua Lanay Rice Brian K Rice Jr. Ela Rice
Like - Reply - 1y

Theresa Anderson Cowger lam so sorry for the loss of such a magnificent lion. May he roam the fields in
all his glory.

GO¢ 3°@

Like - Reply - 1y

Pam Mckinley Ringer A beautifully written tribute. God bless everyone

Like - Reply - ty

Cindi Lewis Gilman How Very sad. Sorry for your loss. Hugs!

Like - Reply - 1y

Brittany Nicole Garner Rip Buy?
Like - Reply - ty

oc @ ©

Brittany Nicole Garner

 

Like - Reply: ly

4% Brittany Nicole Garner 9

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nd
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Like - Reply: ty

Donna Smith He will be missed ! Love lions, so sorry for his loss. '=- ©. L. HW

Like - Reply - 1y

Cami Zembower So very sorry to read of Bu's passing. What a gorgeous majestic creature he was.9

Like - Reply - ty

Mindy Nield Mooney I|'m sorry for the loss of Bu. Here is a photo | have of him from a few years back.

 

Like - Reply - 1y

O Meaghen D Newcomb

  
   

Like - Reply - 1y

O Meaghen D Newcomb

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3) Tri-State Zoological Park & Animal Park, ar i Rescue 501c3 - Posts
PX Document 71-43. Filed 12/20/21 age 61 of 61

we Shirley Jackson | amso sorry for your loss
Like - Reply - 1y

we Shirley Jackson | have a great memory of him when he was a cub | got to experienced holding him and
playing with him this one day in the zoo office it was the best experience | have encountered in my life RIP
Bu you will be missed

Like - Reply - ty

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